
18 N.Y.2d 817 (1966)
The People of the State of New York, Respondent,
v.
James Paris, Appellant.
Court of Appeals of the State of New York.
Argued September 28, 1966.
Decided October 27, 1966.
Manfred Ohrenstein for appellant.
Frank S. Hogan, District Attorney (Michael Juviler and H. Richard Uviller of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges VAN VOORHIS, BURKE and SCILEPPI. Judges FULD, BERGAN and KEATING dissent and vote to reverse and to order a new trial upon the dissenting opinion at the Appellate Division.
Judgment affirmed; no opinion.
